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May 17, 2019

Dear Member of the Ohio State Community:

Today we are releasing publicly the independent investigative report from Perkins Coje
regarding Dr. Richard Strauss. The findings are shocking and painful to comprehend,

We are deeply grateful for your participation in the investigation that helped to reveal the
extent of Strauss’ sexual abuse of his student-patients and the unacceptable failures of this
institution.

On behaif of the university, we offer our profound regret and sincere apologies to each
person who endured Strauss’ abuse, and for our institution’s fundamental failure at the time to
prevent this abuse.

As you know, the report is the culmination of the 12-month investigation by Perkins
Coie. The independent investigators conchided that Strauss committed acts of sexual abuse
against at least 177 students during his etnployment at Ohio State from 1978 to 1998. The report
also concludes that university personnel at the time had knowledge of complaints and concerns
about Strauss’ conduct as early as 1979 but failed to investigate or act meaningfully.

This independent investigation was completed only because of your-strength and courage.
We thank you for speaking with the investigators and also thank those who spoke te us at our
Board of Trustees meeting in November,

The independent investigators interviewed more than 500 individuals in total and
reviewed documents dating back to the relevant time period. We want to assure you that the

investigators made every effort to protect your anonymity. Accordingly, the names of survivors
are omitted from the report.

The university advocated with the State Medical Board of Ohio to be allowed to release
the full, unredacted report, and we filed a motion in that regard with the federal court. The
medical board opposed our motion to the court, citing R.C, 4731,22(F), The federal court denied
our motion. Therefore, portions of the report referring to the medical board’s investigatory file
on Strauss must be redacted. The university will continue to advocate for permission to release
the redacted portions of the report.

Please Inow the report contains explicit descriptions of sexual abuse.

9 Link to the Strauss investigation repott.
Case: 2:21-cv-02562-MHW-EPD Doc #: 12 Filed: 08/19/21 Page: 2 of 2 PAGEID #: 123

As a reminder, the university announced earlier this year that it will cover the cost of
professionally certified counseling for those affected by Strauss. The counseling is offered
through Praesidium, which has extensive experience in providing confidential and sensitive
support services. No contact with the university ig required, and Praesidium will not share your
information with Ohio State. You can engage in this counseling for as long as needed. If you
have received counseling as a result of Strauss’ actions, the university will reimburse those costs
through Praesidinm,

We are committed to the safety and well-being of every student on our campuses. The
university has implemented muitiple additional safeguards against sexual misconduct and abuse
in the 20 years since Strauss left the university and will continue to advance these efforts,

Ohio State is sharing the report publicly this morning on the Strauss investigation
website, Here, you will also find related public records and messages to our university
community. You may receive additional communications from the university today as we
attempt to reach the broader Ohio State community,

We established and announced the independent investigation by Perkins Coie after
allegations concerning Strauss’ abuse were brought to the university’s attention in spring 2018.
We reached out to tens of thousands of alumni and former student-athletes who attended Ohio
State during Strauss’ employment at the university. We asked for their help with the investigation,
Most importantly, we asked for your help, and we are particularly thankful for your willingness to
share your experiences with investigators. We truly appreciate the courage you displayed in
coming forward, and our university is united in gratitude to you, We will remain ever-Vigilant in
working to ensure this can never happen again.

Sincerely,
Michael V, Drake, MD Michael J. Gasser

President Chair, Board of Trustees

 
